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                                      UNITED STATES DISTMCT COURT
                                      MIDDLE DISTMCT OF LOUISIANA


BRANDON COOPER, et al.,

          Plaintiffs                                          * CIVIL ACTION NO. 3:14-00507-SDD- RLB
                                                              *

V.                                                            * JUDGE DICK
                                                              *

COURTNEY N. PHILLIPS, et al.,                                 * MAGISTRATE JUDGE BOURGEOIS

          Defendants

Consolidated with

ADVOCACY CENTER and MONICA *
JACKSON,                    *

                            * CIVIL ACTION NO. 3:15-00751-SDD-RLB
     Plaintiffs             *

                            * JUDGE DICK
                                                              ^
V.

                                                              * MAGISTRATE JUDGE BOURGEOIS
                                                              *
COURTNEY N. PHILLIPS, et al.,
                                                              *

                                                              *
          Defendants.
                                                              *




                                   SUPPLEMENTAL STIPULATED ORDER

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       The Parties agree that since March 2020, Defendants have been unable to substantially

comply with the Settlement Agreement due to the effects of COVID-19. See Rec. Doc. 208.

Therefore, considering the foregoing Joint Motion for Entry of Supplemental Stipulated Order, the

Joint Motion for Entry of Supplemental Stipulated Order is hereby GRANTED such that this

Supplemental Stipulated Order shall SUPPLEMENT the Settlement Agreement signed on

November 16, 2016 (hereinafter "Settlement") (Rec. Doc. 200), and the Settlement remains in full

force and effect until Defendants have maintained substantial compliance with the Settlement and

Supplemental Stipulated Order for a period of two years pursuant to Paragraph 2 of this

Supplemental Stipulated Order, except as MODIFIED below:

   I. Incorporation of Settlement Definitions


       1. All definitions provided in the Settlement remain the same and shall be incorporated

           into this Supplemental Stipulated Order. Settlement, Rec. Doc. 200, ^ 3.

   II. Continued Reporting and Jurisdiction


       2. Under the Settlement, this Court would have retained jurisdiction to enforce the

           Settlement until this matter is dismissed after four (4) continuous years of Defendants'

           substantial compliance with the Settlement. Settlement, ^ 50.

       3. The Parties agree to amend the Settlement so that the Court's jurisdiction to enforce

           the Settlement and this Supplemental Stipulated Order shall continue until Defendants

           have maintained substantial compliance with the Settlement and Supplemental

           Stipulated Order for two (2) years. The two (2) years shall begin on the date the Parties

           agree that Defendants have reached substantial compliance with the Settlement and this

           Supplemental Stipulated Order. In order to reach substantial compliance:
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      a. Defendants must demonstrate three consecutive months in which they have met the


          following goals: (1) no Incompetent Individuals orNGRI clients have waited longer

          than thirty days for transfer to ELMHS; (2) 90% of Incompetent Individuals or

          persons deemed NGRI are admitted to ELMHS within the applicable admission

          timeline under Paragraphs 8 or 9 of the Settlement (i.e., two (2) business days or

          fifteen (15) calendar days); and (3) 90% of Behavioral Health Assessments of

          Incompetent Individuals and NGRI occur within five (5) calendar days of receipt

          of an order for inpatient treatment or commitment—as required by Paragraph 6 of

          the Settlement.


   4. Should the Parties be unable to agree after meeting in good faith to confer regarding

      whether the Defendants have achieved substantial compliance with all provisions of

      the Supplemental Stipulated Order and Settlement, Defendants may seek a declaration

      from the Court that Defendants attained substantial compliance and identifying the date

      on which the two (2) year period commenced.

   5. The reporting provisions under the Settlement and this Supplemental Stipulated Order

      shall continue for the duration of the Court's jurisdiction to enforce the Settlement and

      this Supplemental Stipulated Order.

III. Alternative Behavioral Health Assessments


   6. The Parties agree to allow a limited exception to the in-person requirement for

      Behavioral Health Assessments (BHAs) through alternative virtual means in order to

      facilitate compliance with the timeframe under Paragraph 6 of the Settlement, in the

      event an in-person BHA cannot be conducted due to extenuating circumstances. See


      Settlement, ^ 3(p), 6. Defendants shall develop and implement a statewide
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   contingency plan within forty-five (45) calendar days from the effective date of this

   Supplemental Stipulated Order to conduct BHAs using alternative virtual means that

   includes video-conferencing for jails that are capable of allowing virtual BHAs.

   Whenever LDH has an Incompetent Individual or person deemed NGRI ordered into

   its custody from a jail that is incapable of allowing virtual BHAs, LDH will contact the

   relevant Sheriffs Office and / or Court in a good-faith effort to arrange for that client's

   transport to a location with capability to conduct a virtual BHA. Defendants will use

   alternative virtual means to conduct BHAs only if, after reasonable efforts to safely

   conduct in-person BHAs, such assessments are not possible due to COVID-19


   restriction(s) and only for the duration of the COVID-19 restriction(s) preventing in-

   person assessments. To this end, the contingency plan for BHAs shall, at a minimum,


   include all of the following:

   a. A list of jails in Louisiana which have held an ELMHS patient in the last calendar


      year identifying the COVID-19 restriction(s), if any, that may prevent in-person

      BHAs. For each jail, the plan shall identify the nature of the restriction(s) and

      anticipated duration of the restriction(s). This list shall identify each of the listed

      jails ability for conducting BHAs by alternative virtual means and provide the dates

      on which Defendants, obtained this information from the listed jails. If Defendants

      are unable to obtain information from a jail regarding its technological capabilities

      for conducting virtual BHAs despite a good faith and reasonable effort to contact

      the jail, Defendants shall provide the dates on which Defendants attempted to obtain

      this information, the name and title of jail staff Defendants contacted or attempted

      to contact, and the reason the information was not obtained. Defendants shall
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          update the information in the contingency plan by contacting each jail at least every

          six months and on receipt of notice from any jail(s) with updated information.

          Updated lists shall describe all dates where Defendants offered and provided

          assistance to any jail pursuant to the procedures under Subparagraph (b), the type

          of assistance offered and provided, and the outcome of such assistance.


      b. A statement that after receipt of notice from a jail that COVID-19 restrictions are

          being implemented and thus preventing in-person BHAs, Defendants will

          implement virtual BHAs if the jail is capable.

      c. Defendants' counsel shall notify Plaintiffs' counsel of the names of any jails that

          have limited or no capability to allow virtual BHAs and the contact information of

          the jail staff or officials with whom Defendants have discussed these capabilities

          within sixty (60) calendar days of the effective date of this Supplemental Stipulated

          Order. If a jail notifies LDH or LDH learns of changes to a jail's procedure or

          capability. Defendants' counsel shall notify Plaintiffs' counsel within ten (10)

          calendar days of such notification.


  7. Defendants shall continue to ensure employment of sufficient District Forensic

      Coordinators (DFCs) to staff each jail in order to comply with the timeline under

      Paragraph 6 of the Settlement and to execute the contingency plan described under

      Paragraph 6 of this Supplemental Stipulated Order.

IV. Review and Modify Procedures at Eastern Louisiana Mental Health System
      (ELMHS) and Other Placements to Reduce the Patient Population


   8. In order to achieve compliance with Defendants' existing obligations in Paragraphs 8-

      11 and 13 of the Settlement in light of the conditions and compliance issues related to

      COVID-19, Defendants will review and either modify or propose modifications to
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   relevant authorities to procedures to reduce the patient population at ELMHS and at

   any other placements for which LDH currently has a contract for NGRI or Incompetent

   Individuals. To this end:

   a. Within one hundred and eighty (180) calendar days from the effective date of this

      Supplemental Stipulated Order, Defendants will complete a comprehensive review

      (culminating in the report described below) of intake, post-admission assessment,

      furlough, discharge, and conditional release and discharge procedures at ELMHS

      and at any other placements for which LDH holds a CEA Agreement.

   b. These patient population reduction procedures shall include, at a minimum:

               i. processes for identifying, assessing, and releasing individuals who are

                  clinically eligible for less restrictive placements or full discharge,

                  including assessments based on mental condition or capacity, and

                  dangerousness to self or others, and a regular process of auditing


                  assessments and treatment plans and developing corrective action plans


                  to address barriers to release.


              ii. furlough processes that may be used to facilitate the efficient release of

                  individuals.

             iii. maintenance of a list of all NGRI, Incompetent Individuals, and

                  individuals found unrestorably incompetent under La. Code Crim P. art.

                  648(B)(3) (or separate lists for each type of legal status) who are

                  clinically eligible for outpatient or community-based treatment, or full

                  discharge, including their legal status, outreach efforts to criminal

                  justice and other stakeholders to facilitate release, wait times to access
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                 outpatient or community-based services, wait times to full discharge,


                 reasons for any wait time prior to conditional or full discharge, and any

                 reasons for why the individual was not placed or discharged despite

                 being on this list.

             iv. a regular process of periodically reviewing procedures to continuously

                 maximize the efficiency of procedures to reduce the patient population

                 at ELMHS and at all other placements for NGRI or Incompetent

                 Individuals.

   c. In order to document this comprehensive review described in Subparagraph (b) and

      assess progress resulting from this review, Defendants shall provide a one-time


      report of this review to Plaintiffs within the timeframe in Subparagraph (a) (180

      days) identifying each placement reviewed; describing the procedures reviewed at

      each placement; the method of review; date(s) of review; determinations regarding

      which procedures can and cannot be shortened, streamlined, or otherwise modified


      to maximize the efficiency of its existing operations to reduce the patient

      population, to ensure socially distant treatment, and to comply with all applicable

      statutory and other legal requirements; the reasons and data upon which such

      determinations are made; the steps (including whether additional research is

      needed) required to modify each procedure or propose such modification(s) to

      relevant authorities; and a reasonable timeline to modify each procedure or propose

      such modifications) to relevant authorities.

   d. Defendants shall conduct subsequent reviews on an annual basis and attest to


      Plaintiffs that such reviews have been completed. Defendants will produce to
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          Plaintiffs a document enumerating the procedures that they will follow in

          conducting their annual reviews, but Defendants will not be required to produce the

          report discussed in the preceding paragraph on an annual basis. Defendants will

          provide to Plaintiffs an annual attestation that the review has been completed.

          Plaintiffs may request documentation produced in the course of the annual reviews

         pursuant to the provisions of Section VIII "Requests for Additional Information"

          of this supplemental agreement.

V. Alternatives to ELMHS including the Expansion of Less Restrictive Placement
       Options such as Community-Based Settings

   10. In light of the conditions and compliance issues related to COVID-19, Defendants

      agree to establish a work group with stakeholders, for the purpose of reviewing prior

      recommendations, creating new recommendations, and exploring Local Governing


      Entity (LGE) involvement for possible community bed options for NGRI Individuals

      and possible community bed restoration options for Incompetent Individuals, with

      appropriate permission from the criminal court, to receive clinically appropriate

      competency restoration and/or mental health treatment. The Parties will discuss

      potential process recommendations to address needs or issues brought forth by this


      work group. The Parties acknowledge that any potential plan is subject to the necessary

      court approval as to the NGRI and Incompetent Individuals and implementation of any
                                                        (,




      plan is subject to budgetary appropriation from the Louisiana Legislature. The initial

      work group meeting will take place within one hundred twenty (120) calendar days

      from the effective date of this Supplemental Stipulated Order. A plan (hereinafter

      "stakeholder plan") based on a one (1) year schedule shall be developed by Defendants

      and provided to Plaintiffs and their counsel within thirty (30) calendar days of the initial
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    work-group meeting and shall include anticipated outcomes and target timelines for

    quarterly intervals throughout the year.

 11. The initial meeting with a stakeholders work group convened by Defendants within

    120 days from the effective date of this Supplemental Order that shall focus on

    obtaining stakeholder input for the development of the initial one (1) year plan.

    Thereafter, Defendants shall convene meetings with the stakeholders work group at

    quarterly intervals, or on a more frequent or less frequent basis as needed, throughout


    the year beginning from the date of implementation of the plan or subsequent plan(s).

    On the agreement of the stakeholders work group, additional meetings may be

    convened, or the work group can agree that a quarterly interval meeting is not


    necessary.


 12. Stakeholders include individuals who are involved with or who have direct experience

    in or expertise in the criminal justice system, public health, and forensic and broader

    mental health system. This work group shall include the following stakeholders: CEO

    ofELMHS or a designee, the Assistant Secretary of Office of Behavioral Health (OBH)

    or a designee, LDH Legal, Disability Rights Louisiana (DRLA), the state judiciary,

    District Attorneys, and Public Defenders. Additional stakeholders may be included as

    needed. Stakeholders for the original workgroup will be identified by name, title, and

    purpose prior to the commencement of the first stakeholder meeting. Any individual

    sought to be added as a stakeholder after the first meeting takes place shall be upon the

    mutual agreement of the Parties. Any additional stakeholders to be added shall be

    identified by name and purpose at least five (5) business days before any subsequent

    meeting.
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 13. Defendants shall be responsible for maintaining documentation related to these work

    group meetings including preparing and circulating agendas, if needed, compiling

    attendance lists, and documenting themes, recommendations, and discussions for each


    work group meeting.


 15. The agenda(s) for the work group may include the following:

    a. Strategies for identifying and developing less restrictive alternatives to ELMHS

        with the purpose of expanding community placement options.

    b. Identification and assessment of current placement options, including

        documentation ofCOVID-19 policies and procedures, testing and infection data,

        availability, capacity, vaccination and booster data, and other issues related to

        moving individuals into less restrictive placements. LDH will develop policies and

        procedures to continually update and assess such information on a regular basis and


        address issues related to moving individuals into less restrictive placements.

    c. Identification of strategies to reduce or eliminate barriers to expanding less

        restrictive options for restoration and NGRI populations such as changes that

        require legislative proposals, additional research and analysis, and/or outreach

        procedures to relevant entities, including:

            i. Funding and statutory changes to implement, an expansion ofcommunity-


                based treatment options including outpatient competency restoration and

                other mental health treatment services.


           ii. Procedures to facilitate the placement of Incompetent Individuals in

                outpatient competency restoration services, including:




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                 1. A system for determining in a timely manner when a criminal court

                    orders a mental examination under La. Code Crim. P. art. 643.


                 2. A system requiring DFCs or their representatives to inform the

                    criminal court about an individual's potential eligibility for

                    outpatient competency restoration services, and the availability of

                    such services.


                 3. A system for tracking and monitoring an individual's progress

                    through the outpatient competency restoration service, and


                    providing periodic updates to the criminal court through the DFC.

                 4. A timetable for providing DFCs with training, approved by

                    Plaintiffs' counsel on the terms of the Supplemental Stipulated

                    Order.


                 5. A system for monitoring the performance ofDFCs in implementing

                    the terms of the Supplemental Stipulated Order.


         iii. Funding and developing supportive housing opportunities with appropriate

             mental health services for NGRI and Incompetent Individuals in locations

             throughout Louisiana, which shall include, but shall not be limited to, New

             Orleans, Baton Rouge, Lafayette, Lake Charles, and Shreveport, including

             increasing community-based beds.


         iv. A system for requiring outpatient or community-based service providers,


             through contractual means with Defendants, to accept referrals from


             ELMHS in accordance with the individual's eligibility based on ELMHS'




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              clinical assessments and wait list tracking as developed under Section IV of

              this Supplemental Stipulated Order.

           v. Funding and securing beds at other Mental Health Facilities besides

              ELMHS, including private hospitals, by an amount necessary to

              accommodate the placement of individuals who need hospital-level care

              within the timeframes established in Paragraphs 8-10 of the Settlement and

              in light of quarantining procedures and social-distancing needs.

          vi. Providing technical assistance to criminal courts and other stakeholders to

              support the implementation of outpatient competency restoration services

              and community-based mental health treatment services, such as:


                  1. Determining eligibility for outpatient competency restoration

                      services and community-based mental health treatment services.


                  2. The conditions for and availability of outpatient competency

                      restoration services and community-based mental health treatment


                      services.


    d. Throughout the implementation period of the plan or any subsequent plan(s),

       Plaintiffs' counsel may request, with sufficient advance notice, that Defendants

       provide additional information specific to the plan only, and specifically regarding

       implementation of those activities identified within the plan. . Any disagreements

       under this Subparagraph shall be subject to Paragraph 18 of the Settlement.

    e. Within thirty (30) calendar days of finalizing the plan between the Parties, its

       schedule, any supplements, or any subsequent plans, Defendants' counsel shall file


       such document(s) into the record for this case. Defendants shall implement the




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          provisions of the plan, supplements, and any subsequent plans developed in

          accordance with this provision of the Supplemental Stipulated Order within a

          reasonable timeframe.


VI. Resolution and Prevention of Waiting List Backlogs


   16. Defendants will take steps to immediately resolve the current backlog and prevent

      future backlogs for the waiting list of NGRI and Incompetent Individuals awaiting

      transfer to ELMHS or other Mental Health Facility, or to an appropriate community-

      based program. Such steps include facilitating the provision ofnon-jail based treatment

      alternatives to ELMHS and / or release of individuals on the waiting list, which include

      but are not limited to, contacting relevant parties to the criminal proceedings and other

      relevant entities to discuss the need for and possibility of modifying court orders or


      other action(s).

   17. To monitor Defendants' efforts at compliance in light of conditions related to COVID-

      19, Defendants shall report the following information with the reports under Section

      IX of this Supplemental Stipulated Order:

      a. Rates of admission during the reporting period.

      b. Bed availability during the reporting period.

      c. Estimated date of substantial compliance with admission timelines under

          Paragraphs 8-10 of the Settlement.

      d. Total number of individuals on the waiting list and total number of individuals

          removed from the waiting list for the relevant reporting period.

      e. Each individual's place on the waiting list with the anticipated date of admission,

          name, date of birth, client ID, parish jail (or other facility) where held.




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    f. The criminal charge(s) for each individual on the waiting list including the title of


       the charge(s), statutory provision(s), and whether each charge is a misdemeanor or

       felony.


    g. The date of the Order.


    h. The date Defendants were notified of the Order.

    i. The name of the court-ordered placement.


    j. The date(s) of all BHAs, results of all BHAs including but not limited to all BPRS

       score(s), date(s) of all physician consult(s), and type of admit (i.e., 15 days or 2

       days). LDH will note in its monthly reporting whenever a jail is closed to DFCs

       such that they could not perform BHAs in-person.

    k. The date(s) and result(s) of any and all COVID-19 tests, the entity administering

       the test, and the date(s) the Defendants were notified of each testing result.

    1. COVID-19 vaccination status of the individual, date(s) of vaccine administration,

       and entity administering the vaccine.

    m. The potential family or other community supports available to each individual on

       the waiting list if released from jail or ELMHS custody, as may be reported to

       ELMHS by the individual or a third party.

    n. For each individual on the waiting list, an account of Defendants' progress in

       removing that individual from the waiting list including Defendants' efforts, the

       outcome, relevant dates, and any discrepancies between the Defendants'


       recommendation and the court's order for an individual's placement as required


       under Paragraph 11 of the Settlement.




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      o. The same information will be provided for individuals who have been removed

          from the waiting list during the relevant reporting period except that the date of

          removal from the waiting list will be included instead of the place on the waiting

          list and anticipated date of admission, and the name of the placement where each

          individual was admitted or other reason(s) for removal from the waiting list will be

          included instead of the name of the court-ordered placement.


VII. COVID-19 Policies and Procedures


   18.ELMHS will follow all recommended protocols through the guidance from the

      Louisiana Office of Public Health (OPH) and the Centers for Disease Control and


      Prevention (CDC) for congregate settings.

   19. Defendants' counsel will inform Plaintiffs' counsel about any known prospective

      changes and / or implemented changes relating to COVID-19 that would affect

      admission or discharge procedures for ELMHS for NGRI or Incompetent Individuals

      within one (1) business day of Defendants' counsel receiving information that a change

      is likely expected or that a change was implemented, whichever is sooner.

   20. Each week, Defendants' counsel will provide Plaintiffs' counsel with the following

      information: ELMHS' COVID-19 patient status, hospitalizations, and deaths.

  .21. Defendants' counsel will provide this weekly reporting under Paragraph 20 to

      Plaintiffs' counsel beginning on the first Friday following the effective date of this

      Supplemental Stipulated Order and for the duration of this Court's jurisdiction over the

      Settlement and this Supplemental Stipulated Order. \

  22. Defendants' counsel shall also inform Plaintiffs' counsel about ELMHS' current

      COVID-19 testing, vaccination, and booster policies, and testing schedules for staff




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      and patients within ten (10) business days of the effective date of this Supplemental

      Stipulated Order and update Plaintiffs' counsel on any changes to these policies and

      schedules within five (5) business days of the change for the duration of this Court's

      jurisdiction over the Settlement and this Supplemental Stipulated Order.

VIII. Requests for Additional Information


   23. Plaintiffs' counsel may make reasonable requests for additional information or

      documents to verify compliance with the Settlement Agreement and this Supplemental

      Stipulated Order. Defendants will provide responsive information within a reasonable

      timeframe. However, Defendants may object to disclosing any information or

      documents pursuant to a request. In case of an objection, the Parties shall meet and


      confer to try to resolve the issue in good faith. If the Parties cannot come to a resolution,

      Plaintiffs and their counsel may utilize the procedure under Paragraph 18 of the

      Settlement.


IX. Reporting Provision Deadlines

   24. Paragraph 17 of the Settlement requires Defendants to submit a report to Plaintiffs'

      counsel on the first working day of each month beginning November 1, 2016.

      Settlement, If 17. This deadline shall be modified as follows: Defendants' counsel will

      submit the report described under Paragraph 17 of the Settlement by the 15 of each

      month.


   25. Defendants' counsel will provide the current waiting list, used in the course of

      ELMHS' normal business practice, to Plaintiffs' counsel on the first working day of

      each month beginning on the month following the effective date of this Supplemental




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      Stipulated Order. Defendants' counsel shall also provide the current waiting list upon

     request from Plaintiffs' counsel.


X. Attorney Fees and Costs


  26. Under Section V, and in particular, Paragraphs 22-23 and 38-39 of the Settlement, the

     Parties agree that Plaintiffs are entitled to recover attorneys' fees and costs for work

     performed in obtaining Defendants' compliance with the Settlement. Within thirty (30)

     calendar days of entry of this Supplemental Stipulated Order, Plaintiffs' counsel will

     provide Defendants' counsel with an itemized accounting of attorneys' fees and costs,


     including appropriate documentation supporting the accounting, incurred in connection

     with obtaining Defendants' compliance with the Settlement. Within thirty (30) calendar

     days of receipt of the itemized accounting, Defendants' counsel will provide a response

     to Plaintiffs' counsel as to any itemized fee or cost with which it does not agree. If

     necessary, the Parties may conduct a telephone status conference to discuss any


     disputes over the itemized fees or costs. If an agreement cannot be reached between the


     Parties as to any claims for fees or costs. Plaintiffs' counsel may seek relief from the

     Court pursuant to Paragraphs 40-^\ of the Settlement. Any payment of attorneys' fees

     will be inclusive of all attorneys' fees and costs incurred from March 11, 2020, up to

     and including the effective date of this Supplemental Stipulated Order.

  27. Pursuant to Paragraphs 44^-5 of the Settlement, the Parties have agreed to a maximum

     amount of attorneys' fees and costs that may be awarded during the course of litigation.

     The total amount of attorneys' fees that may be awarded in this case after final approval

     of the prior Settlement and satisfaction of the initial claim for attorneys' fees shall not

     exceed $300,000.




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   XI. Miscellaneous


       28. The enforcement procedure under Paragraph 18 of the Settlement applies to this

            Supplemental Stipulated Order.

       29. Any and all provisions of the Settlement that are not inconsistent with the language of

            this Supplemental Stipulated Order remain in effect.

       30. This Supplemental Stipulated Order becomes effective on the date it is signed by all

            Parties.



                                  2^
       SO ORDERED this ^ /-^~ day of ^ / L^/j^^ 2023, in Baton


Rouge, Louisiana.


                                                 ^U^ /^/^ .X
                                                     SHELLY D.
                                                     UNITED STATES DISTRICT JUDGE




Approved:

/s/J. Dalton Conrson


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Dated: April 26, 2023




Approved:



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Dated: April 26, 2023




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